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                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

DENNIS SPURLING,

                                Plaintiff,

                   v.                        Civil Action No.4:22-cv-1794

CINDY ELIENE WRIGHT,                         COMPLAINT AND JURY DEMAND

                              Defendant.

      Plaintiff DENNIS SPURLING (“Plaintiff”) as and for his Complaint against

Defendant CINDY ELIENE WRIGHT (“Defendant”) alleges the following:

                            NATURE OF THE CASE

      1.     This is a diversity action asserting Texas state law claims for slander

per se, slander, libel per se, and defamation, as a result of Defendant’s publication

of slanderous and defamatory statements regarding Plaintiff that are false, harmful,

and offensive to Plaintiff, as well as invasion of privacy – false light, intentional

infliction of emotional distress and unjust enrichment
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                                           PARTIES

           2.      Plaintiff is a citizen, domiciliary, and resident of the City of Missouri

     City Fort Bend County, State of Texas.


            3.     Upon information and belief, Defendant Wright is a citizen,

      domiciliary, and resident of the State of Florida.


4.    Upon information and belief, Defendant Wright permanently resides at 824 SW

      147th Ave Pembroke Pines, FL 33027.

                               JURISDICTION AND VENUE

            5.     This civil action is between Plaintiff, a citizen of the State of Texas,

      and Defendant Wright, a citizen of Florida, and the amount in controversy

      exceeds seventy-five thousand dollars ($75,000), exclusive of interest and costs.

            6.     This Court has subject matter jurisdiction under 28 U.S.C. §

      1332(a).

            7.     Wright is subject to personal jurisdiction of this Court in the State

      of Texas and this judicial district because she committed a tortious act within the

      State of Texas in this judicial district, including, but not limited to, the torts of

      invasion of privacy – false light, defamation, and slander, inter alia, as

      complained of herein.




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      8.      A substantial part of the events giving rise to this claim occurred in this

judicial district.

      9.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2).

                                      PARTIES

                           Plaintiff DENNIS SPURLING

       10.    Dr. Dennis Spurling, Plaintiff is a Civil Litigation Attorney licensed in

the State of Texas with an Legal: Law Master’s in Environmental and Energy

Related Law.

       11.    In 2005, Plaintiff transitioned from his first job working in at A small

law firm in New Orleans, to working owing his own law firm practicing personal

injury law in Houston, Texas.

Plaintiff is affiliated with a group of nationally known lawyers and law firms that

litigate Class – Action Lawsuits in various states in the country.

       12.    Plaintiff, worked and sacrificed tremendously for the local community

in hope of building his name and reputation as a legal professional making a

difference in underserved communities.

       13.    Plaintiff is an active member of Greater True Vine Missionary Baptist

Church in 5th Ward, Houston, Texas and has sponsored multiple church events over

the years. Including but not limited to motivational speaking with aspiring career

focused law students.



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Plaintiff has appeared on local news with Isiah Carey on Fox 26 on multiple

occasions to render legal opinions.

      14.    During the COVID-19 pandemic, Plaintiff commenced to build his

name brand with informative legal and social topic related videos.

Plaintiff has been successful in building his following on various social media

platforms including Facebook, Instagram, and YouTube.

      15.    Plaintiff has amassed over 45, 000 subscribers on YouTube,

approximately 11,000 followers on Facebook, and around 5,000 followers on

Instagram. All of this has been done in under one (1) year.

      16.    Plaintiff has hired and retained a social media team, which is calculated

to magnify his current numbers by 100-fold over the next several years.

      17.    Plaintiff has been appointed and nominated to multiple Class Action

committees and is the owner of Dennis Spurling PLLC and Houston, Texas Based

Law Firm.

      18.    Plaintiff is working diligently to be appointed to Plaintiff’s Steering

Committee in various Class Actions pending around the nation. In addition, Plaintiff

is building his name brand, which will, in part, allow him to do personal Injury

litigation for high money judgment clients as to their respective claims.

      19.    Plaintiff, in raising his profile did videos with the likes of Kevin

Samuels in Miami, Florida, with an aspirational goal of becoming a legal advisor for



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a major American television or cable network, including, but not limited to, CNN,

MSNBC, FOX News, etc.

                         Defendant CINDY ELIENE WRIGHT

      20.    Defendant CINDY ELIENE WRIGHT (hereinafter referred to as

“Wright” or “Defendant” or “Defendant Wright”) is of full age of majority.

      21.    Defendant currently resides at 824 SW 147th Ave Pembroke Pines, FL

33027.

      22.    Defendant is the mother of (1) child: a 6 -year-old son EZS who she

shares with Plaintiff,

      23.    In February 2018, Plaintiff was awarded joint custody of EZS which

required Defendant Wright to travel to Houston, Texas, monthly.

      24.    Defendant Wright has refused abide by court ordered child custody

decree and has fled the country and absconded with the EZS on multiple occasions

to avoid Service.

      25.    In March 2022, Plaintiff informed Wright that he intended to as for

modification of the Custody agreement and have EZS relocate to Fort Bend County,

Texas to attend school.

      26.    In April 2022, Plaintiff file an enforcement order in Broward County,

Florida to enforce the Texas Judgment ordering Joint Custody.




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      27.   Since that time server of processes and private investigators have been

actively searching for Defendant in Florida and the Country of Jamaica where she

has hidden out and is known to have absconded with the EZS.

      28.   On May 30, 2022, Wright participated in an online interview on the

Paper Work Party Network hosted by Johnathan Edwards Davis entitled “Kevin

Samuels Update: One on One with Dennis Spurling Baby Mama (She Tells All and

Clears the AIR) wherein implicated plaintiff in the crime of murder of Kevin

Samuels and she stated that Plaintiff committed the crime of child abuse as to their

son EZS stating that he “beat their son from head to toe” in addition she was

promised donations of $10,000.00 purportedly so that she can hire an attorney.

https://youtu.be/4FAW71LS1HE

      29.   This video along with it’s accompanying snippets “Kevin Samuels

update: Part 1 Full Phone Conversation w/ Dennis Spurling Baby Momma in

Jamaica” and “Kevin Samuels update: Part 2 Full Phone Conversation w/ Dennis

Spurling Baby Momma in Jamaica” also posted on May 30, 2022

https://youtu.be/CaMMgD8Rmr4 and https://youtu.be/l4TZ9D2AeMs which have

approximately 11,000 views at the time of filing.

      30.   As a result of this video other content creators have begun to make

videos encompassing these false statements; on June 1, 2022, the Mr. Palmer

Youtube Channel posted a video entitled “BMT tries to Clout Chase Saying He’s



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Just A Friend. But You had A Baby By Him. https://youtu.be/9ZXzYcR4vqI which

has approximately 4,000 views at the time of filing.

Wright’s motives financial and vindictive and now having been made aware that

Plaintiff intended to file for custody of their child EZS.

      31.     It was at this point that Wright began to contrive and hatch a plan that

would allow her to bilk Plaintiff for as much money as possible in the form of Child

support and to attain 100% control and custody of their child EZS.

      32.     In order for Wright’s plan to work it was imperative that she disparage

the name and reputation of Plaintiff and avoid being served with the properly filed

“Petition to Enforce Judgement related to the 2018 Custody Agreement.

                DAMAGING AND DISPARAGING REMARKS

      33.     Plaintiff emphatically denies these horrendous assertions that Plaintiff

is a murderer and Child Abuser made by Wright, done in an attempt to bolster her

claim and garner sympathy from the public.

      34.     These are fraudulent, untruthful, defamatory, and slanderous statements

have been made to gain an unjust and unfair advantage for the purposes of financial

enrichment.

      35.     These false allegations have permanently damaged Plaintiff’s character

and reputation as a professional Trial attorney and a business owner.




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      36.    As calculated these horrible accusations alleging heinous acts of

violence and abuse made basis of this lawsuit have damaged plaintiff’s reputation

and character.

      37.    In addition, these defamatory and slanderous statements and this attack

on Plaintiff’s reputation have left him emotionally distraught.

      38.    Specifically, Plaintiff, overwhelmed with depression fear and anxiety

has a result of these horrendous accusations of violence.

      39.    Furthermore, Plaintiff was forced to reduce his hours at his law office

and his online video presence; the emotional distress has left Plaintiff unavailable

mentally.

      40.    Plaintiff’s emotional distress arising from Wright’s defamatory and

slanderous statements have left Plaintiff unmotivated to exercise of a regular basis,

unable to sleep, and now Plaintiff uses food as coping mechanism resulting in

depression and the gaining of twenty (20) pounds, and he frequently ill.

      41.    Since Defendant’s defamatory statements were published Plaintiff has

lost business opportunities in the form of employment.

      42.    Upon information and belief, several of his potential employers,

interviewers, and would-be business associates, including, but not limited to, those

in the legal and media fields, having run routine background checks using the world

wide web, saw the false accusations made against Plaintiff by Wright.



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      43.    Several would-be followers on YouTube, Facebook, and Instagram

have unfollowed him citing these horrible accusations of violence and abuse made

basis of this lawsuit.

      44.    Plaintiff has been asked and may be forced to resign from his class

action committee position at the above-referenced hospital in anticipation of the bad

press and backlash, which would arise because of Plaintiff being allowed to remain

a committee member in light of the nature of these horrible false allegations made

by Defendant Wright.

      45.    As a result of Wright’s false statements Plaintiff has been in effect

barred from getting an audition or any role in film or television playing the role of

personal or a job as a legal advisor to a major network or cable news outlet because

of the potential bad press and backlash.

      46.    For Plaintiff, even maintain a law practice has become difficult as

clients and would be clients use the world wide web to search for lawyers which lead

to these false allegations.

      47.    Wright in an attempt to gain an unfair advantage in a child support and

custody proceeding by making provably false sworn statements has permanently

destroyed plaintiff’s career which he has worked for decades to achieve.

      a.     The aforementioned defamatory statements published by Wright

             havecaused Plaintiff to suffer embarrassment, humiliation, mental


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            anguish, and emotional distress.

     b.     The aforementioned defamatory statements distributed, published,

            and repeated by Wright have caused Plaintiff to suffer

            embarrassment, humiliation, mental anguish, and emotional

            distress.

     c.     The aforementioned defamatory statements published by Wright

            have also caused damage to Plaintiff’s reputation and character

            within his profession and industry, including but not limited to

            among her fans and with prospective business relations.

     d.     The aforementioned defamatory statements distributed, published,

            and repeated by Wright have also caused damage to Plaintiff’s

            reputation and character within her profession and industry,

            including but not limited to among her fans and with prospective

            business relations.

      48.    At no time has Wright retracted and repudiated the aforementioned

defamatory statements.

      49.    Wright, as of the date of filing of this Complaint, has failed to and

refused to retract and/or repudiate her aforementioned defamatory statements.

      50.    As of this day, Wright has not issued any sort of retraction or

repudiation of the defamatory statements, nor has she apologized to Plaintiff for


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 them.

                                    COUNT I
                        (Slander Per Se Against Defendant)

         51.   Plaintiff repeats and realleges by reference the allegations in

 paragraphs 1 through 50 as if fully set forth herein.

         52.   Upon information and belief, Wright published a statement on

 YouTube on or around May 30, 2022.

         .     The aforementioned May 30, 2022 interview published by Wright

 contains multiple false and defamatory statements about Plaintiff.

         53.   Including that Plaintiff is murderer and an abuser.

         54.   None of the aforementioned statements about Plaintiff made by

 Wright are true.

         55.   Defendant knew that her statements were false at the time that she

published them, or Defendant was subjectively aware of the probable falsity of

her aforementioned statements at the time that she respectively published them.

         56.     Upon information and belief, Wright has not taken down or

retracted the defamatory statements about Plaintiff made by Defendant in her

May 30, 2022 interview.

     57.       Upon information and belief, Wright knew prior to publication that

there was a likelihood that she was circulating false information and/or entertained



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serious doubts as to the truth of the statements that were published in her

defamatory May 30, 2022, interview.

     58.      Upon information and belief, Wright knew the statements made in

her defamatory May 30, 2022, interview was false or Wright acted with reckless

disregard ofwhether her statements concerning Plaintiff were true or not.

     59.      Upon information and belief, Wright knew the statements made in

her defamatory May 30, 2022, interview was false, or Wright acted with reckless

disregard of whether her statements concerning Plaintiff were true or not.

     60.      Upon information and belief, Defendant published these false

statements and identified Plaintiff by his professional title, his name, his

occupation, in her May 30, 2022 interview(s) so that individuals who researched

him would know the statements made were about Plaintiff.

     61.      Upon information and belief, Defendant’s false statements were

generatedand communicated with actual malice, total disregard for the truth, and

in the complete absence of any special privilege.

    62.    Upon information and belief, Wright had no basis for in the defamatory

sworn statements made were true.

    63.       Upon information and belief, the defamatory sworn statement has

been viewed by thousands of people.



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    64.       Upon information and belief, Defendant’s defamatory statements

concerning Plaintiff are stillavailable to be viewed by the public.

    65.       Upon information and belief, these actions constitute

actionable slander per se.

     66.      Upon information and belief, Defendant’s false and

defamatory statements made and published in Defendant’s defamatory May

30, 2022, interview were disparaging andhave produced damage to Plaintiff

and to Plaintiff's name, character, and reputation.

    67.       The aforementioned defamatory statements made and

published by Wright have caused Plaintiff to suffer embarrassment,

humiliation, mental anguish,and emotional distress.

     68.      The aforementioned defamatory statements made, published,

and distributed by Wright have caused Plaintiff to suffer embarrassment,

humiliation,mental anguish, and emotional distress.

     69.      The aforementioned defamatory statements made and

published by Wright have also caused damage to Plaintiff’s reputation and

character within his profession and industry, including but not limited to

among his clients, fans and with prospective business relations.

    70.       The aforementioned defamatory statements made, published,

and distributed by Wright have also caused damage to Plaintiff’s reputation



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and character within his profession and industry, including but not limited to

among his fans and with prospective business relations.

     71.       Upon information and belief, the actions or omissions of

Defendant set forth in this Complaint demonstrate malice, egregious

defamation, and insult.

     72.       Upon information and belief, such actions or omissions by

Defendant were undertaken with reckless disregard of the falsity of the

speech and its effects on Plaintiff.

     73.       As a direct and proximate result of Defendant’s conduct,

Plaintiff has suffered and continues to suffer damages in an amount to be

proven at trial.

     74.       Plaintiff is entitled to general and special damages for the

following harm: embarrassment, humiliation, mental anguish, and emotional

distress and impairment to her name, character, and reputation.

     75.       Additionally, Plaintiff requests an award of punitive damages

and attorneys’ fees and litigation expenses beyond and in excess of those

damages necessary to compensate Plaintiff for injuries resulting from

Defendant’s conduct.

    76.        Additionally, as a direct and proximate result of the foregoing,

Plaintiff is entitled to an order permanently enjoining Defendant and all their



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respective agents, officers, employees, representatives, successors, assigns,

attorneys, and all other persons acting for, with, by, through, or under

authority from Wright or in concert or participation with Wright, and each of

them, from: making, disseminating, broadcasting, or publishing any

statements that Plaintiff committed the crimes of murder of child abuse as

stated in the May 30, 2022 interview, as well as an order requiring Wright to

retract, remove, and repudiate in full all defamatory and disparaging

statements made regarding Plaintiff.

                                    COUNT II
                            (Slander Against Defendant)

      77.      Plaintiff repeats and realleges by reference the allegations in

paragraphs 1 through 76 as if fully set forth herein.

      78.      Upon information and belief, Defendant’s above-listed actions

constitute actionable slander.

      79.      Upon information and belief, Defendant’s false and defamatory

statements made in her above-referenced May 30, 2022, interview were disparaging

and have produced damage to Plaintiff and to Plaintiff’s name, character, and

reputation.

      80.     Upon information and belief, Defendant was subjectively aware of the

probable falsity of the statements made during her above-referenced May 30, 2022,

interview concerning Plaintiff at the time that she published them.

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      81.       Upon information and belief, Defendant’s actions as set forth in this

Complaint demonstrate malice, egregious defamation, and insult.

      82.       Upon information and belief, such actions or omissions by Defendant

were undertaken with reckless disregard of the falsity of the speech and its effects

on Plaintiff.

      83.       As a direct and proximate result of Defendant’s conduct, Plaintiff has

suffered and continues to suffer damages in an amount to be proven at trial.

      84.       The aforementioned defamatory statements made and published by

Wright have caused Plaintiff to suffer embarrassment, humiliation, mental anguish,

and emotional distress.

      85.       The aforementioned defamatory statements made, published, and

distributed by Wright have caused Plaintiff to suffer embarrassment, humiliation,

mental anguish, and emotional distress.

      86.       The aforementioned defamatory statements made and published by

Wright have also caused damage to Plaintiff’s reputation and character within his

profession and industry, including but not limited to among his fans and with

prospective business relations.

      87.       The aforementioned defamatory statements made, published, and

distributed by Wright have also caused damage to Plaintiff’s reputation and




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character within his profession and industry, including but not limited to among his

fans and with prospective business relations.

      88.    Plaintiff is entitled to general and special damages for the following

harm: embarrassment, humiliation, mental anguish, and emotional distress and

impairment to his name, character, and reputation.

      89.    Additionally, Plaintiff requests an award of punitive damages and

attorneys’ fees and litigation expenses beyond and in excess of those damages

necessary to compensate Plaintiff for injuries resulting from Defendant’ conduct.

      90.    Additionally, as a direct and proximate result of the foregoing, Plaintiff

is entitled to an order permanently enjoining Defendant and all their respective

agents, officers, employees, representatives, successors, assigns, attorneys, and all

other persons acting for, with, by, through, or under authority from Wright, or in

concert or participation with Wright, and each of them, from: making, disseminating,

broadcasting, or publishing any statements that Plaintiff has committed the crimes

of murder or the crime child abuse as stated in the May 30, 2022, interview, as well

as an order requiring Wright to retract, remove, and repudiate in full all defamatory

and disparaging statements made regarding Plaintiff.

                                    COUNT III

                        (Libel Per Se Against Defendant)




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      91.    Plaintiff repeats and realleges by reference the allegations in paragraphs

1 through 134 as if fully set forth herein.

      92.    Upon information and belief, Wright published her interview

concerning Plaintiff on or around May 30, 2022.

      93.    Upon information and belief, Wright published these false statements

via a May 30, 2022, interview on the Paper Work Party Network hosted by

Johnathan Edwards Davis entitled “Kevin Samuels Update: One on One with Dennis

Spurling Baby Mama (She Tells All and Clears the AIR)

      94.    As set forth above, the statements made in Defendant’s May 30, 2022

interviews contain false, defamatory, and libelous statements regarding Plaintiff,

including that Plaintiff has or had committed the crime of murder against Kevin

Samuels and committed the Crime of Child Abuse against their child EZS.

      95.    None of the aforementioned statements about Plaintiff in Defendant’s

May 30, 2022, interviews are true.

      96.    Upon information and belief, Defendant knew these statements to be

false at the time they respectively published them or acted with reckless disregard of

whether they were true or not.

      97.    Upon information and belief, Defendant were subjectively aware of the

probable falsity of the aforementioned statements at the time she published them.




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      98.    Upon information and belief, Defendant’s false statements were

generated and communicated with actual malice, total disregard for the truth, and in

the complete absence of any special privilege.

      99.    Upon information and belief, Defendant had no basis for claiming the

aforementioned statements were true.

      100. Upon information and belief, Defendant’s May 30, 2022, interviews

containing the subject statements have been viewed by thousands of people.

      101. Upon information and belief, these actions constitute actionable libel

per se.

      102. Upon information and belief, Defendant’s false and defamatory

statements made in the subject May 30, 2022, interviews were disparaging and have

produced damage to Plaintiff and to Plaintiff’s name, character, and reputation.

      103. The aforementioned defamatory statements made and published by

Defendant have caused Plaintiff to suffer embarrassment, humiliation, mental

anguish, and emotional distress.

      104. The aforementioned defamatory statements published by Defendant

have also caused damage to Plaintiff’s reputation and character within his profession

and industry, including but not limited to among his fans and with prospective

business relations.




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      105. Upon information and belief, the actions or omissions of Defendant set

forth in this Complaint demonstrate malice, egregious defamation, and insult.

      106. Upon information and belief, such actions or omissions by Defendant

were undertaken with reckless disregard of the falsity of the speech and its effects

on Plaintiff.

      107. As a direct and proximate result of Defendant’s conduct, Plaintiff has

suffered damages in an amount to be proven at trial.

      108. Plaintiff is entitled to general and special damages for the following

harm: embarrassment, humiliation, mental anguish, and emotional distress and

impairment to her name, character, and reputation.

      109. Additionally, Plaintiff requests an award of punitive damages and

attorneys’ fees and litigation expenses beyond and in excess of those damages

necessary to compensate Plaintiff for injuries resulting from Defendant’ conduct.

      110. Additionally, as a direct and proximate result of the foregoing, Plaintiff

is entitled to an order permanently enjoining Defendant and all her respective agents,

officers, employees, representatives, successors, assigns, attorneys, and all other

persons acting for, with, by and through, or under authority from Wright or in concert

or participation with Wright, from: making, disseminating, broadcasting, or

publishing any statements that Plaintiff has committed the crimes of murder or the

crime child abuse as stated in the May 30, 2022, interview, as well as an order



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requiring Wright to retract, remove, and repudiate in full all defamatory and

disparaging statements made regarding Plaintiff.

                                     COUNT IV

             (Invasion of Privacy – False Light Against Defendant)

      111. Plaintiff repeats and realleges by reference the allegations in paragraphs

1 through 110 as if fully set forth herein.

      112. Upon information and belief, by publishing the false statements in the

manner described above, Defendant portrayed Plaintiff in a false light intending to

cause Plaintiff injury.

      113. Upon information and belief, Wright knew these statements to be false.

      114. Upon information and belief, Wright made no attempt to verify the

veracity of any statements made regarding Plaintiff.

      115. Upon information and belief, Wright knew the statements made in the

May 30, 2022, interview were false

      116. Upon information and belief, Wright was subjectively aware of

probable falsity of the statements made in the above referenced May 30, 2022,

interviews were false at the time she published them.

      117. Upon information and belief, Defendant’s false statements were

generated and communicated with actual malice, total disregard for the truth, and in

the complete absence of any special privilege.



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      118. Upon information and belief, as set forth above Defendant has

intentionally intruded upon the solitude and/or seclusion of Plaintiff and his private

affairs and/or concerns, and this intrusion, which falsely portrays Plaintiff having a

murderous violent disruptive or volatile character, is highly offensive to a reasonable

person.

      119. Upon information and belief, Defendant have also intentionally

intruded upon the solitude and/or seclusion of Plaintiff and his private affairs and/or

concerns, and this further intrusion, which falsely portrays Plaintiff as being a

domestic abuser of women and children is highly offensive to a reasonable person.

      120. Upon information and belief, Defendant knew or should have known

the statements alleged herein would create a false impression about Plaintiff and

acted in reckless disregard of the truth.

      121. Upon information and belief, Defendant did not engage in any of the

aforementioned conduct out of any sincere or proper motive, or in any manner

governed by reasonable and ministerial conduct according to any job duty, but did

so knowingly, willfully, and oppressively, with full knowledge of the adverse effects

that her actions would have on Plaintiff, and with willful and deliberate disregard

for the consequences. Accordingly, Plaintiff is entitled to recover punitive damages

from Defendant in an amount to be determined at trial.




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      122. Upon information and belief, the actions or omissions of Defendant set

forth in this Complaint demonstrate malice, egregious defamation, and insult. Such

actions or omissions by Defendant were undertaken with reckless disregard of the

falsity of the speech and its effects on Plaintiff.

      123. As a direct and proximate result of Defendant’s conduct, Plaintiff has

suffered and continues to suffer damages in an amount to be proven at trial.

      124. Plaintiff is entitled to general and special damages for the following

harm: embarrassment, humiliation, mental anguish, and emotional distress and

impairment to his name, character, and reputation.

      125. Additionally, Plaintiff requests an award of punitive damages and

attorneys’ fees and litigation expenses beyond and in excess of those damages

necessary to compensate Plaintiff for injuries resulting from Defendant’ conduct.

      126. Additionally, as a direct and proximate result of the foregoing, Plaintiff

is entitled to an order permanently enjoining Defendant and all their respective

agents, officers, employees, representatives, successors, assigns, attorneys, and all

other persons acting for, with, by, through or under authority from Wright, or in

concert or participation with Wright, and each of them, from: making, disseminating,

broadcasting, or publishing any statements that Plaintiff has committed the crimes

of murder or the crime child abuse as stated in the May 30, 2022, interview, as well




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as an order requiring Wright remove in full all defamatory and disparaging

statements made regarding Plaintiff.

                                      COUNT V

                   (Intentional Infliction of Emotional Distress)

      127. Plaintiff repeats and realleges by reference the allegations in paragraphs

1 through 126 as if fully set forth herein.

      128. Upon information and belief, by making and publishing the defamatory

statements, disparage plaintiff name and reputation destroy his character and raise

money in the amount of $10,000.00 purportedly for legal fees, as described above

Defendant intended to cause Plaintiff emotional distress.

      129. Upon information and belief, Defendant’s conduct was intentional, as

Defendant knew these statements were false and made no attempt to verify the truth

of any statements made regarding the Plaintiff.

      130. Upon information and belief, Wright knew the statements made in the

May 30, 2022, interviews were extreme and outrageous and would cause the Plaintiff

severe emotional distress.

      131. Upon information and belief, Wright has published her May 30, 2022,

interviews against the Plaintiff, which were intended to cause humiliation, mental

anguish and emotional distress in the Plaintiff.




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      132. Upon information and belief, Defendant’s conduct was extreme and

outrageous as Defendant’s purposely published statements that she knew would

cause severe emotional distress, including but not limited to stating that Plaintiff has

or had committed the crime of murder and child abuse.

      133. Upon information and belief, Defendant’ conduct was intentional as

Defendant intended to benefit financially and socially from Plaintiff’s severe

emotional distress.

      134. Upon information and belief, since Wright began her campaign against

Plaintiff, and has been awarded substantially through the receipt of contributions

from viewers in an amount in excess of $10,000.00 which has allowed her to obtain

and lawyer and again abscond to Jamaica with EZS

      135. Upon information and belief, Wright conduct was intentional as Wright

intended to garner sympathy from the public and in return be gifted donations, and

as a result of her outrageous and harassing conduct against the Plaintiff and has now

been able to do so.

      136. Upon information and belief, Wright began her campaign against the

Plaintiff to gain sympathy and favor in the public eye and increase the likelihood

that she could be granted a favorable judgement of child support.

      137. Upon information and belief, Wright conduct was intentional as Wright

has achieved her goal using the defamatory statements made about the Plaintiff.



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      138. As a proximate result of defendant’s actions and the consequences

proximately cause by her, as herein above alleged, Plaintiff suffered severe

humiliations, severe mental anguish, and severe emotional distress.

      139. As a direct and proximate result of Defendant’s conduct, Plaintiff has

suffered damages in an amount to be proven at trial.

      140. Plaintiff is entitled to general and special damages for the following

harm: embarrassment, humiliation, mental anguish, and severe emotional distress.

      141. Additionally, Plaintiff requests an award of punitive damages and

attorneys’ fees and litigation expenses beyond and in excess of those damages

necessary to compensate Plaintiff for injuries resulting from Defendant’ conduct.

      142. Additionally, as a direct and proximate result of the foregoing, Plaintiff

is entitled to an order permanently enjoining Defendant and all their respective

agents, officers, employees, representatives, successors, assigns, attorneys, and all

other persons acting for, with, by, through or under authority from Wright, or in

concert or participation with Wright, and each of them, from: making, disseminating,

broadcasting, or publishing any harassing statements about the Plaintiff that have

caused emotional distress, as well as an order requiring Wright remove in full all

such previously made statements.

                                    COUNT VI

                               (Unjust Enrichment)



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      143. Plaintiff repeats and realleges by reference the allegations in paragraphs

1 through 142 as if fully set forth herein.

      144. Upon Information viewers of the May 30, 2022, interview of provided

thousands of dollars in donations in favor of Wright based all or in part on the

defamatory, fraudulent and erroneous Statements in the subject May 30, 2022

interview; Wright has knowingly and willingly accepted and enjoyed these benefits;

      145. Wright either knew or should have known that her Scheme would lead

to this outcome.

      146. As such, it would be inequitable for Wright to retain theses proceeds

and benefit payments under these circumstances.

      147. Wrights’ acceptance and retention of these benefits under the

circumstances alleged herein make it inequitable for Wright to retain the benefits

without payment of the value to Plaintiff.

      148. Plaintiff is entitled to recover from Wright all amounts wrongfully

collected and improperly retained by Wright.

      149. Plaintiff seeks actual damages, exemplary damages, injunctive and

declaratory relief, attorneys’ fees, costs, and any other just and proper relief available

under the laws.

                                     COUNT VII

       (Exemplary Damages against Defendant Pursuant to Sec. 41.003)



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      150. Plaintiff repeats and realleges by reference the allegations in paragraphs

1 through 149 as if fully set forth herein.

      151. Defendant’s actions demonstrate willful misconduct, malice, fraud,

wantonness, oppression, and conscious indifference to the consequences of their

actions.

      152. Upon information and belief, Defendant acted with a specific intent to

cause harm to Plaintiff.

      153. Plaintiff seeks punitive damages to punish, penalize, and deter

Defendant’ actions in an amount that exceeds $250,000.00.

                                    COUNT VIII

           (Attorneys’ Fees and Litigation Expenses against Defendant)

      154. Plaintiff repeats and realleges by reference the allegations in paragraphs

1 through 153 as if fully set forth herein.

      155. Defendant have acted in bad faith by publishing defamatory statements

they knew to be false and would cause harm to Plaintiff and have been stubbornly

litigious and have caused Plaintiff unnecessary trouble and expense by refusing to

retract such statements.

      156. Plaintiff seeks her attorneys’ fees and expenses of litigation.

                                     COUNT IX

                   (Declaratory Judgment against Defendant)



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        157. Plaintiff repeats and realleges by reference the allegations in paragraphs

1 through 158 as if fully set forth herein.

        158. That Plaintiff ask that a Declaratory Judgment be granted in favor of

Plaintiff and against the Defendant, Wright stating that:

        159. On May 30, 2022, when Wright participated in an online interview on

the Paper Work Party Network hosted by Johnathan Edwards Davis entitled “Kevin

Samuels Update: One on One with Dennis Spurling Baby Mama (She Tells All and

Clears the AIR) wherein she implicated plaintiff in:

        a.    the crime of murder of Kevin Samuels; and

        b.    she stated that Plaintiff committed the crime of child abuse as to their

son EZS stating that he beat my son from head to toe”

        160. In addition, Plaintiff Dennis Spurling seeks a declaration by this court

that:

        a.    Wright knew prior to publication that there was a likelihood that she

              was circulating false information and/or entertained serious doubts as

              to the truth of the statements that were published in her defamatory

              May 30, 2022, interview;

        b.    Wright knew the statements made in her defamatory May 30, 2022,

              interview were false or Wright acted with reckless disregard of

              whether her statements concerning Plaintiff were true or not.


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        c.    Wright published these false statements and identified Plaintiff by his

              professional title, his name, his occupation, in her May 30, 2022,

              interview(s) so that individuals who researched him would know the

              statements made in the interview were about Plaintiff.

        d.    Wright’s false statements were generated and communicated with

              actual malice, total disregard for the truth, and in the complete

              absence of any special privilege.

        e.    Wright had no basis for the defamatory sworn statements made were

true.

        f.    Wright published and her false statement in a calculated attempt to

              gain a financial advantage:

        g.    Wright published and her false statement in a calculated attempt to

              gain an advantage child – custody proceedings;

        161. Defendant Wright has been Unjustly Enriched as fully set forth herein

in paragraphs 1- through 160.

                              PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests the Court to enter judgment in

his favor and against Defendant, as follows:




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      (a)    Awarding Plaintiff damages in amounts pertaining to each to be

determined at trial, but not less than $75,000, including general, special,

consequential, actual, and exemplary damages.

      (b)    Awarding an accounting to Plaintiff for the gains and profits of

Defendant arising from the unlawful conduct.

      (c)    Permanently enjoining Defendant and their respective partners, agents,

representatives, successors, assigns and employees, and any and all persons in active

convert or participation with Defendant, and each of their executors, administrators,

successors, licensees, assigns, subsidiaries, parents, affiliates, divisions, co-

venturers, partners, officers, directors, employees, agents, shareholders, managers,

representatives, consultants, and any and all other persons, corporations, or other

entities acting under the supervision, direction, control, or on behalf of any of the

foregoing, and each of them, from: making, disseminating, broadcasting, or

publishing any statements that Plaintiff has committed the crimes of murder or the

crime child abuse as stated in the May 30, 2022, interview;

      (d)    Issuing an order requiring Wright to retract, remove, and repudiate in

full all defamatory and disparaging statements made regarding Plaintiff;

      (e)    Issuing an order requiring Wright to retract, remove, and repudiate in

full all defamatory and disparaging statements made regarding Plaintiff;

      (f)    Awarding Plaintiff’s attorneys’ fees and costs;



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      (g)   Pre-judgment and post-judgment interest;

      (h)   A declaration as fully set forth herein in paragraphs 157 through 161;

      (i)   Damages equal to the amount that has been and will be wrongfully

collected and improperly retained by Wright, plus interest thereon;

      (j)   Granting Plaintiff such other and further relief as the Court deems just

and proper and as allowed under the laws of The State of Texas and the United States

Constitution and the laws of these United States of America.

                           JURY TRIAL DEMANDED

      Plaintiff hereby demands a trial by jury on all issues so triable.

                                         Respectfully submitted,

                                      DENNIS SPURLING PLLC
                                      ATTORNEYS AT LAW & FRIENDS

                                         /s/Dennis D. Spurling
                             By      ______________________________
                                       DENNIS D. SPURLING, ESQ.
                                       Attorney-in-Charge
                                       Texas Bar Roll No.: 24053909
                                       Southern District of Texas No.: 718307
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                                       Houston, Texas 77054
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                                       (713) 229-8444 Facsimile
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PLEASE SERVE:

Cindy Eliene Wright
At her place of residence:
824 SW 147th Ave
Pembroke Pines, FL 33027

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